                                                                     FILED IN   OIEN ~OURT ~ (2-,t--t-
                                                                     ON     lJ.    d---.t.a~u___
                                                                          Petar A. Moore, Jr,, Clorti
                                                                          US District Court
                                                                          Eastern Dlstr!ct 1;f NC

                    UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION·

                                 No. 5:20-cr-00464-D


 UNITED STATES OF AMERICA                  )
                                           )
                   vs.                     )
                                           )
                                                  SUPERSEDING INDICTMENT
                                           )
 WILLIAM ROBERT JEFFERY
                                           )



The Grand Jury charges that:


      On or about March 17, 2020, in the Eastern District of North Carolina,

WILLIAM ROBERT JEFFERY, the defendant herein, did knowingly possess one or

more matters, that is, computer hard drives and computer media containing digital

and computer images, the production of which involved the 11se of one or more

prepubescent minor or a minor who had not attained 12 years of age,- engaging in

sexually explicit conduct, and which images visually depicted such conduct. The

images had been mailed, shipped and transported in interstate and foreign commerce

and by.use of means and facilities of interstate commerce, i.e., the Internet, and were

produced using materials which had been mailed, shipped, or transported in

interstate and foreign commerce, by any means 'including by computer, all in violation

of Title 18, United States Code, Section 2252A(a)(5)(B).




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                        NOTICE OF PRIOR CONVICTION

      Defendant WILLIAM ROBERT JEFFERY has the . following prior final

convictions that result in increased potential punishment under Title 18, United

States Code, Section 2252A(b)(2):

      On or about September 6, 2000, in the U.S. District Court for the Eastern

District of North Carolina, WILLIAM ROBERT JEFFERY was convicted of interstate

travel for purpose of engaging in a sexual act with a juvenile, in violation of 18 U.S.C. ·

§ 2423(b), and was sentenced to 24 months' imprisonment.

      On or about February 20, 2000, in Dare County Superior Court, North

Carolina, WILLIAM ROBERT .JEFFERY was convicted of indecent liberties with a

child, in violation of N.C.G.S. § 14-202.1, and was sentenced to 19 to 23 months'

imprisonment.




                     [Remainder of page intentionally left blank]




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                                      FORFEITURE NOTICE

              The named defendant is hereby given notice that all of the defendant's interest

       in all property specified herein is subject to forfeiture .
. '-
              Upon conviction of one or more of the offenses set forth above, WILLIAM

       ROBERT JEFFERY, the defendant herein, shall forfeit to the United States,

       pursuant to Title 18, United States·Code, 2253(a):

              (1) any visual depiction or book, magazine, periodical, film, videotape, or other

       matter which contains any such visual depiction, which was produced, transported,

       mailed, shipped, or received in violation of the offense(s);

              (2) any property, real or personal, constituting or traceable to gross profits or

       other proceeds obtained from the offense(s); and

              (3) any property, real or personal, used or intended to be used to commit or to

       promote the commission of said offense(s) or any property traceable to such property.

              The forfeitable property includes, but is not limited to a HGST 1TB 2.5" SATA

       hard drive, bearing s/n JR1000BDGE5JYE, and a Quantum 30GB IDE hard drive

       bearing s/n 176001919993.

              If any of the above-described forfeitable property, as a result of any act or

       omission of the defendant ;_

              (1) cannot be located upon the exercise of due diligence;

              (2) has been transferred or sold to, or deposited with, a third party;

              (3) has been placed beyond the jurisdiction of the court;

              (4) has been substantially diminished in value; or




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•




       (5) has been commingled with other property which cannot be subdivided

          without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), through 18 U.S.C. Sections 2253 or 1467, whichever may be applicable, to

seek forfeiture of any other property of said defendant up to the value of the above

forfeitable property.



                                               A TRUE BILL
                                              --/J..A_~
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                                               Date:   /'2. -J - 2o 2?;

ROBERT J. HIGDON, JR.
United States Attorney


By:
                        -


      Assistant United State_s Attorney
      Criminal Division




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